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                         THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA



In Re: RFC and ResCap Liquidating Trust Court File No. 13-cv-3451 (SRN/HB)
Litigation




                                                      PLAINTIFF’S TRIAL BRIEF
This document relates to:

ResCap Liquidating Trust v. Home Loan
Center, Inc., No. 14-cv-1716 (SRN/HB)

                     


            Plaintiff submits this trial brief pursuant to the Court’s Trial Notice and Final

Pretrial Order [Doc. No. 3929] and Local Rule 39.1.

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2.    Plaintiff’s Party Representative: John Ray, Liquidating Trust Manager.

3.    Jury/Non-Jury: Jury.

4.    Length Of Trial: Up to 21 days, including jury selection and jury charge.

5.    Jurisdiction: The basis of federal jurisdiction is 28 U.S.C. § 1334.

6.    Facts To Be Proven At Trial: Plaintiff will prove that HLC sold hundreds of

loans to Residential Funding Company LLC (“RFC”) between 2002 and 2007 in breach

of the parties’ Client Contract and the GMAC-RFC Client Guide (the “Client Guide”);

that HLC’s breaches were a contributing cause of the liabilities and losses that RFC

incurred in its bankruptcy settlements (the “Indemnifiable Claims”); that the settlements

were reasonable and in objective good faith; and the dollar amount of HLC’s liability

based on Plaintiff’s Allocated Breaching Loss Approach.




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7.    Claim And Defenses. Plaintiff’s claim is for contractual indemnity. See Mem.

Op. & Order on Common-Issue Mots. for Summ. J. (“SJ Order”) at 57 [Doc. No. 4307];

10/4/2018 Order [Doc. No. 4515].

      HLC is pursuing an affirmative defense of equitable estoppel, which this Court

described in the Court’s SJ Order and elsewhere. See SJ Order at 115 (HLC may attempt

to prove “certain instances” in which “RFC may, on occasion, have acted in a way so as

to estop it now from enforcing the Client Guide”); 10/1/2018 Order at 6 [Doc. No. 4497]

(equitable estoppel is potentially available only in “limited circumstances”); id. at 7

(“HLC may not seek to introduce anecdotal, hearsay evidence that simply reflects

generalized variances from RFC’s underwriting criteria. Rather, it must offer evidence of

a stated departure from the provisions and remedies of the Client Guide as to specific

HLC loans or specific bulk transactions, made by a person with authority at RFC.”); see

also 9/14/2018 Hr’g Tr. 13:10-22 (“[W]hat would be admissible ... would be non-hearsay

competent evidence that, despite the fact that HLC signed the client contract

incorporating the Client Guide, that there were communications between a person

capable of doing that at RFC and a person capable of doing that at HLC in which HLC

was advised that they could deviate in part or entirely from the Client Guide and HLC

reasonably relied on that.   And that could take two forms.        One could be actual

communications between ... people with the authority to be able to make that decision

between the two companies, or it could be an internal document reflecting that

communication.”).




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       HLC’s only other affirmative defense is the so-called “sole cause” defense. The

Court in its SJ Order held it would be premature to dismiss the defense based on the

record then before the Court and indicated the Court would assess the issue again on a

more complete record. SJ Order at 109. The Court has since ordered HLC to proffer

evidence purportedly supporting the defense on October 9, 2018, holding that to “cross-

examine [Plaintiff’s expert] Snow with respect to RFC-only liability based on a ‘gap or

mismatch,’ ... HLC must present non-speculative, admissible evidence in support of [the

defense].” 10/1/2018 Order at 8.

       In its jury instructions and elsewhere, HLC has indicated it believes it has a waiver

defense. Plaintiff disagrees with HLC and intends to discuss its position with the Court at

the pretrial conference on October 9, 2018.

8.     Unresolved Issues. Unresolved substantive, evidentiary, and procedural issues

include the following:

       Substantive Issues. Substantive issues for trial include (1) the Client Guide’s

applicability to the at-issue loans (including availability of equitable estoppel); (2) the at-

issue loans’ contributing causation of RFC’s liabilities and losses (including HLC’s sole

cause defense); (3) the reasonableness and objective good faith of RFC’s bankruptcy

settlements; and (4) the dollar amount of HLC’s liability.

       On the first issue (Client Guide applicability), it is undisputed that RFC and HLC

entered into a Client Contract that incorporates the Client Guide, which includes multiple

indemnity clauses governing the purchase and sale of loans HLC sold to RFC. HLC has

not adduced evidence demonstrating that the Client Guide does not govern the at-issue


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loans. In this respect, the Court has held that “anecdotal, hearsay evidence that simply

reflects generalized variances from RFC’s underwriting criteria” is not, on its own,

probative of whether the Client Guide as a whole governed the loans, and that HLC

“must offer evidence of a stated departure from the provisions and remedies of the Client

Guide as to specific HLC loans or specific bulk transactions, made by a person with

authority at RFC.” 10/1/2018 Order at 7. HLC has not done so. Nor has it offered

evidence that the Client Contract and Client Guide were superseded by the Assetwise

Direct Agreement.        Finally, despite repeated opportunities, HLC has not adduced

evidence of equitable estoppel within the Court’s above-described parameters. See id. 6

(“[T]he exemplars attached to HLC’s letter do not contain evidence supporting the very

limited circumstances under which estoppel evidence might be relevant at trial.”).

       On the second issue (causation), Plaintiff will prove that HLC’s breaches were a

contributing cause of RFC’s liabilities and losses. HLC’s purported evidence to the

contrary is mistaken. HLC’s “sole cause” defense likewise fails because HLC has not

adduced evidence that RFC was the sole cause of its liability on any at-issue loan. See SJ

Order at 95 (adopting “contributing cause” standard); see 10/1/2018 Order at 9

(documents “allegedly reflective of RFC’s ‘business strategy’ to deviate from the Client

Guide, simply show that RFC occasionally bought loans that were underwritten pursuant

to non-RFC underwriting standards”; this alone “does not support HLC’s defense of

RFC-only liability.”).

       On the third issue (reasonableness and objective good faith), Plaintiff will prove

the at-issue settlements were reasonable and in objective good faith. See, e.g., Miller v.


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Shugart, 316 N.W.2d 729, 735 (Minn. 1982) (“The test … is what a reasonably prudent

person in the position of the defendant would have settled for on the merits of plaintiff’s

claim.”); see also In re Residential Capital, LLC, 536 B.r. 132, 148 (Bankr. S.D.N.Y 205)

(“[C]ourts in Minnesota and New York apply an objective test to determine the

reasonableness of the settlement, the allocation of the settlement, and the indemnitee’s

good faith in settling.”). The Court has already reviewed significant amounts of this

evidence and excluded much of the evidence HLC proposed to introduce in opposition.

See SJ Order at 15-17 (discussing facts); Daubert Order at 60-62 [Doc. No. 4471].

        As to the fourth issue (amount of liability), the Court has held that Plaintiff’s

Allocated Breaching Loss Approach is “a reasonably certain basis for assessing and

allocating damages that is not speculative, remote, or conjectural” (SJ Order at 174

(internal quotations omitted), and “offers a highly sophisticated methodology to provide a

basis for the factfinder to determine [HLC’s] damages, if any” (id. at 175). The Court

has also held that statistical sampling is a permissible method of proof. Id. at 59-60.

Plaintiff will prove the dollar amount of HLC’s liability using these methodologies.1

        Evidentiary Issues.   The parties have disputes regarding documents on their

respective exhibit lists, including the priority exhibits exchanged this week, and are due

to meet and confer in advance of the October 9, 2018 pretrial conference. The parties

also have a dispute regarding HLC’s “sole cause” defense as noted above, and HLC is

due to proffer any purported evidence for discussion during the October 9, 2018


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     As to HLC’s liability for Plaintiff’s attorneys’ fees in the current action, the parties
have agreed to present any disputes to the Court by motion.

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conference. Plaintiff has also objected to five witnesses on HLC’s witness list and the

Court has directed HLC to respond. Finally, the parties have exchanged objections to

their respective deposition designations.

       Procedural Issues. As to voir dire, the parties are conferring about the Court’s

proposal during the October 4, 2018 conference. As to jury instructions and the verdict

form, Plaintiff will be prepared to present oral argument during the October 9, 2018

conference to the extent the Court believes such argument would be helpful.

9.     Sequestration.    During the October 4, 2018 pretrial conference, the Court

described sequestration procedures as to which the parties are due to meet and confer.




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Dated: October 5, 2018

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